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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO


  Civil Action No. 18-cv-00956-MSK-MEH


  SHAWNEE RYAN,

        Plaintiff,

  v.

  CORRECTIONAL HEALTH PARTNERS,
  JENNIFER MIX,
  HILARY VICTOROFF, N.P., and
  LAURA SOMMERSCHIELD, N.P.,

        Defendants.


        DEFENDANT HILARY VICTOROFF’S MOTION FOR SUMMARY
                JUDGMENT: CLAIM FOUR (DOC. 184)


        Defendant, Hilary Victoroff, N.P. (Victoroff), by and through her counsel,

  Senior Assistant Attorney General Amy Colony, submits this Motion for Summary

  Judgment: Claim Four (Doc. 184):1

                           PRELIMINARY STATEMENT

        Plaintiff Shawnee Ryan is a former inmate at Denver Women’s Correctional

  Facility, released in October 2018 and currently on parole. Ryan brings suit

  pursuant to 42 U.S.C. § 1983, asserting numerous claims for relief under the Eighth



   This motion is based upon Claim Four as stated in Plaintiff’s Fifth Amendment
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  Complaint accepted by this Court on November 12, 2019. (Doc. 183 and 184).
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  Amendment for deliberate indifference to medical needs.2 Plaintiff claims that upon

  return on February 3, 2017, to the Denver Women’s Correctional Facility after an

  inpatient hospitalization for chemotherapy, Defendant Victoroff wrongfully denied

  her admission to the infirmary located in the Denver Reception and Diagnostic

  Center. On February 6, 2017, Victoroff admitted Plaintiff to the infirmary for

  “neutropenic precautions” based on the result of labs drawn on the same date and

  upon the advice of Plaintiff’s oncologist. Plaintiff was ultimately transferred back to

  the hospital pursuant to her oncologist’s orders, where she was diagnosed with

  neutropenic fever, Influenza A, and a staph infection on her finger that Plaintiff

  claims was due to a “spider bite.” Plaintiff was discharged from the hospital ten

  days later and recovered fully from these conditions.

        The undisputed facts demonstrate that Victoroff provided adequate care to

  Plaintiff based on the facts known at the time of her return to CDOC on February 3,

  2017. It is also undisputed that Victoroff provided additional care to Plaintiff when

  she returned to work on February 6 and admitted Plaintiff to the infirmary upon

  receiving abnormal lab results. As a result, Plaintiff fails to state a claim for

  deliberate indifference in violation of the Eighth Amendment. For the same reasons,


  2
   Plaintiff voluntarily dismissed her remaining claims against the individual
  Department defendants on November 14, 2019 (Doc. 186 – Claims Five and Six
  Against Hilary Victoroff), and on December 11, 2019 (Doc. 204 – Claim Against
  Laura Sommerschield). This Court granted Plaintiff’s motions on November 19,
  2019 (Doc. 193) and December 12, 2019 (Doc. 206). The only remaining claim
  against a CDOC Defendant is Claim Four against Defendant Hilary Victoroff, which
  is the subject of this motion.
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  Victoroff is entitled to qualified immunity as to Claim Four of Plaintiff’s Fifth

  Amended Complaint.

                     STANDARD FOR SUMMARY JUDGMENT

        Summary judgment is appropriate when the movant shows there is no

  genuine dispute as to any material fact and the movant is entitled to judgment as a

  matter of law. Fed. R. Civ. P. 56(a). The moving party does not have to negate the

  nonmovant’s claims in order to obtain summary judgment. Allen v. Muskogee, 119

  F.3d 837, 840 (10th Cir.1997). Rather, the moving party is merely required to show

  “‘that there is an absence of evidence to support the nonmoving party's case.’” Id.

  (quoting Celotex Corp. v. Catrett, 477 U.S. 317, 325 (1986)). If the movant carries its

  initial burden, the plaintiff must “go beyond the pleadings and designate specific

  facts so as to make a showing sufficient to establish the existence of an element

  essential to that party’s case in order to survive summary judgment.” Self v. Crum,

  439 F.3d 1227, 1230 (10th Cir. 2006) (quoting Sealock v. Colorado, 218 F.3d 1205,

  1209 (10th Cir.2000)).


        A material fact is one that “might affect the outcome of the suit.” see

  Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248–50 (1986). An issue is “genuine”

  only “if the evidence is such that a reasonable jury could return a verdict for the

  nonmoving party.” Id. “Factual disputes that are irrelevant or unnecessary will not

  be counted.” Id.




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        Evidence sufficient to defeat a motion for summary judgment “must be based

  on more than mere speculation, conjecture, or surmise.” Self, 439 F.3d at 1230 (10th

  Cir. 2006) (quoting Bones v. Honeywell Int'l, Inc., 366 F.3d 869, 875 (10th

  Cir.2004)). “Unsubstantiated allegations carry no probative weight in summary

  judgment proceedings.” Phillips v. Calhoun, 956 F.2d 949, 951 n. 3 (10th Cir.1992);

  accord Annett v. Univ. of Kan., 371 F.3d 1233, 1237 (10th Cir.2004) (noting that

  “unsupported conclusory allegations ... do not create a genuine issue of fact”).


        A pro se party’s materials may be afforded a liberal construction, but the

  court does “not act as his advocate.” Campbell v. Jones, 684 Fed. Appx. 750, 753

  (10th Cir. 2017). Rather, “[t]he court views the record and draws all inferences in

  the light most favorable to the non-moving party.” Pepsi-Cola Bottling Co. of

  Pittsburg, Inc. v. Pepsico, Inc., 431 F.3d 1241, 1255 (10th Cir. 2005). However,

  “[w]hen opposing parties tell two different stories, one of which is blatantly

  contradicted by the record, so that no reasonable jury could believe it, a court should

  not adopt that version of the facts for purposes of ruling on a motion for summary

  judgment.” Scott v. Harris, 550 U.S. 372, 380 (2007).


        CLAIMS AND DEFENSES UPON WHICH JUDGMENT IS SOUGHT

       A.     Defendant is entitled to Summary Judgment on Claim 4:
  Deliberate Indifference to Medical Need.

               1. Burden of Proof and Elements




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        Plaintiff bears the burden of proof at trial by a preponderance of the evidence

  on her 42 U.S.C. § 1983 claim. Mares v. ConAgra Poultry Co., Inc., 971 F.2d 492,

  294 (10th Cir. 1992). Plaintiff’s constitutional claim against Victoroff fails because

  she cannot establish any action or omission by Victoroff that violated Plaintiff’s

  constitutional rights.3

        The Supreme Court has interpreted “cruel and unusual punishments” to

  include “the unnecessary and wanton infliction of pain” caused by “deliberate

  indifference to serious medical needs of prisoners.” Estelle v. Gamble, 429 U.S. 97,

  104 (1976).

        Plaintiff’s claim of deliberate indifference to a medical need in violation of the

  Eighth Amendment requires her to establish, by a preponderance of the evidence

  that: (1) the alleged deprivation was “sufficiently serious” under an objective

  standard that requires Plaintiff to show she suffers from a medical need that has

  been diagnosed by a medical provider as requiring treatment or one which even a

  lay person would easily recognize as requiring medical attention; (2) that Victoroff

  must have had subjective knowledge of the risk of harm; or (3) that Plaintiff




  3
   Plaintiff has only stated one claim against Defendant Victoroff for deliberate
  indifference in violation of the Eighth Amendment. She has not stated a separate
  claim for any other tort. In addition, Plaintiff informed this Court at two separate
  hearings that she was not seeking any damages related to “emotional distress” with
  respect to her claims against the CDOC Defendants. (Doc. 116, p. 13; Doc. 139, p. 3).
  Plaintiff did attempt to add “negligence claims” against Defendant Victoroff via a
  “Joinder” motion on July 15, 2019 (Doc. 133) (rather than file a proper motion to
  amend the complaint), that this Court denied on November 12. (Doc. 183).
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  sustained a permanent injury or long-term harm as a result of the alleged delay.

  Sealock v. Colorado, 218 F.3d 1205, 1209 (10th Cir. 2000); Garrett v. Stratman, 254

  F.2d 946, 950 (10th Cir. 2001); see Ramos v. Lamm, 639 F.2d 559, 575 (10th Cir.

  1980), cert. denied, 450 U.S. 1041 (1981) (deliberate indifference to serious medical

  needs may be shown by proving there are such gross deficiencies in staffing,

  facilities, equipment, or procedures that the inmate is effectively denied access to

  adequate medical care).

        A claim of inadequate medical care alone is not sufficient to sustain a claim

  under § 1983. Coppinger v. Townsend, 398 F.2d 392, 394 (10th Cir. 1968). “The

  prisoner’s right is to medical care—not to the type or scope of medical care which he

  personally desires,” and disagreements between an inmate and a medical care

  provider about care do not constitute deliberate indifference. Id.; Free v. Unknown

  Officers of the Bur. of Prisons, 103 Fed. App’x 334, 337 (10th Cir. 2004) (“[A]

  prisoner who merely disagrees with a diagnosis or a prescribed course of treatment

  does not state a constitutional violation.” (quoting Perkins v. Kansas Dep’t of

  Corrections, 165 F.3d 803, 811 (10th Cir.1999)). And where prison officials recognize

  and provide treatment for a serious medical condition, a disagreement about the

  course of treatment will not support a claim for deliberate indifference. Perkins,

  165 F.3d at 811.


               2. Elements that cannot be proven by the Plaintiff




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        Element 1: Plaintiff cannot demonstrate a triable issue of fact as to whether

  she suffered an alleged deprivation that was “sufficiently serious” under an

  objective standard. In short, Plaintiff’s preference for admission to the infirmary as

  opposed to the Women’s facility, upon discharge from the hospital, is insufficient to

  support the elements of her claim for deliberate indifference to a medical need.

  Plaintiff presented in stable condition upon discharge and as a result, the then-

  Chief Medical Officer directed Victoroff to deny admission to the infirmary. See

  Sealock, 218 F.3d at 1209.

        Relevant Facts:

        A.     While incarcerated, Plaintiff was diagnosed with Lambda light chain

  deposition, a kidney related ailment, in November of 2013, and multiple myeloma,

  a blood cancer, in April of 2014. See Def. Exh. D, Ryan Depo., pp. 53-56. Plaintiff

  had an autologous stem cell implant in June 2017 to treat this condition. Id. at p.

  58: 12-20.

        B.     Plaintiff was admitted to Aurora Regional Medical Center for

  chemotherapy on January 26, 2017, Defendant’s Exhibit E, Medical Center of

  Aurora (CDOC/MedCtrAur006504-006507), and discharged on February 3, 2017, in

  stable condition. Defendant’s Exhibit A, Affidavit of Hilary Victoroff, ¶¶ 8-10;

  Defendant’s Exhibit B, Health Services Encounter (CDOC001137); Defendant’s

  Exhibit C, Affidavit of Dr. Susan Tiona, ¶¶ 12-15; Def. Exh. E

  (CDOC/MedCtrAur006508-006511); see also, Doc. 180, p. 11, “Plaintiff was released


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  on February 3, 2017 . . . in stable condition with up-trending blood levels post-

  DTPACE.”).4 Plaintiff was not neutropenic and her temperature was normal. Def.

  Exh.t A, ¶¶ 8-10; Def. Exh. B, (CDOC001137); Def. Exh. D, Ryan Depo., p. 68: 1-7;

  Def. Exh. E (CDOC/MedCtrAur006508-006511). Plaintiff arrived at the

  Department alert, ambulatory and afrebrile. Def. Exh. A, ¶ 14.

           C.   Defendant Victoroff, a licensed nurse practitioner employed by the

  Department for over nineteen years, reviewed the discharge summary and orders

  and consulted with the Department’s then-Chief Medical Officer, Dr. Susan Tiona

  as to whether infirmary admission was indicated. Def. Exh. A, ¶¶ 10-14. Dr. Tiona

  denied Plaintiff admission to the infirmary based on the conclusion that she did not

  rise to the level of requiring infirmary care because she arrived at CDOC in stable

  condition and was alert, ambulatory and afebrile. Def. Exh. A, ¶14; Def. Exh. C, ¶¶

  11-16.

           D.   Based on her review of Plaintiff’s medical records and her years of

  experience as a practitioner, former Chief Medical Officer Dr. Tiona concludes that

  Plaintiff’s medical condition at the time she returned to CDOC on February 3,

  2017, following hospitalization for chemotherapy, did not rise to the level of needing

  infirmary care. Def. Exh. C, Aff. Tiona, ¶¶ 11-16.




  4
   The references in Victoroff’s and Dr. Tiona’s affidavits are to medical records
  Plaintiff attached as exhibits to her motion for summary judgment (Doc. 180; Doc.
  180-1; Doc; 180-2; Doc. 185-2). Document No. 180-2 consists, in part, of the records
  from the Medical Center of Aurora contained in Defendant’s Exhibit E.
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        E.     Defendant Victoroff contacted Dr. Burke to confirm his orders,

  medication changes, follow up appointments and labs. Def. Exh. A, ¶ 15. Victoroff

  informed Dr. Burke that Plaintiff would be monitored by Denver Women’s and not

  at the infirmary. Id. Dr. Burke did not voice any objections. Id.

        F.     Prior to leaving for her scheduled days off for the weekend, Defendant

  Victoroff emphasized to the nurses scheduled to be on duty, that per Dr. Burke’s

  orders, if Plaintiff developed a fever of 100.3°F or above, she was to be transported

  back to the hospital. Defendant’s Exhibit F, Victoroff February 2017 Timecard

  (CDOC006257-006258); Def. Exh. A, ¶¶ 16-17.

        G.     Plaintiff testified at her deposition that she demanded her

  temperature be taken on Saturday, February 4, 2017, because she believed she was

  developing a fever. Def. Exh. D, Ryan Depo., pp. 71-72. Plaintiff testified that when

  clinical staff took her temperature, it was “99.3, 99.7, something like that.” Id. at

  71: 24-25. Plaintiff was sent back to her Unit. Id. at 75: 2-10. Plaintiff admits her

  temperature did not reach the level at which her oncologist had ordered her to be

  returned to the hospital. Id. at pp. 71-72; Def. Exh. A, ¶¶ 16-17.

        H.     Early in the morning of February 6, 2017, DWCF clinical staff came to

  Plaintiff’s cell and transported her to the clinic in a wheelchair. Def. Exh. A, Aff.

  Victoroff, ¶ 21; Def. Exh. B, Health Services Encounter (CDOC001135-




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   CDOC001136); Def. Exh. D, Ryan Depo., p. 77: 6-8.5 Plaintiff arrived alert,

   oriented, breathing easily and afebrile. Def. Exh. A, ¶ 21; Def. Exh. B

   (CDOC001135-CDOC001136). Her temperature was 98.1°F and she was seen by

   the provider on duty. Id. Her labs were taken per Dr. Burke’s orders. Id. While

   waiting for her labs, Plaintiff was able to walk on her own, unassisted back to her

   cell. Id.

          I.    Plaintiff’s labs were abnormal with white blood cells, hemoglobin,

   hematocrits, platelets and absolute neutrophil counts being low, which is typical for

   immune-compromised cancer patients who are receiving chemotherapy. Def. Exh.

   A, Aff. Victoroff, ¶¶ 24-25; Def. Exh. B (CDOC001132); Defendant’s Exhibit G,

   LabCorp Feb. 6, 2017.6 These labs caused Victoroff to contact the oncologist, Dr.

   Burke, who recommended admission to the infirmary with neutropenic precautions.

   Def. Exh. A, ¶¶ 24-26.

          J.    Victoroff admitted Plaintiff to the infirmary and wrote orders for

   immediate transport to the hospital if Plaintiff’s temperature exceeded 100.3°F.

   Def. Exh. A, Aff. Victoroff, ¶¶ 27-28; Def. Exh. B, Health Services Encounter




   5
    Contrary to her allegations and her own exhibit (Doc. 180-1, pp.8-9) attached to
   her summary judgment motion (Doc. 180), Victoroff was not scheduled off-duty for
   three consecutive days. Rather, Victoroff reported to work on Monday, February 6,
   2017, at approximately 7:30-7:45 a.m. Def. Exh. F, Victoroff Timecard; Def. Exh. A,
   Aff. Victoroff, ¶ 20.

   6
    Defendant’s Exhibit G is identical to Plaintiff’s summary judgment Exhibit 2, Doc.
   185-2.
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   (CDOC001131-CDOC001132). Plaintiff did not develop a neutropenic fever of

   100.7°F until the morning of February 7, 2017, which caused the provider on duty

   to order her transported back to the hospital in a non-emergent van. Def. Exh. A,

   ¶¶ 29-30; Def. Exh. B, (CDOC001129-CDOC001130).

         Element 2: Plaintiff bears the burden of proof at trial by a preponderance of

   the evidence on her 42 U.S.C. § 1983 claim. Mares, 971 F.2d at 494. Plaintiff cannot

   demonstrate a triable issue of fact as to whether Victoroff had subjective knowledge

   of any risk of harm to the Plaintiff caused by the failure to admit her to the

   infirmary or failure to “leave orders” before her scheduled days off. Sealock, 218 F.3

   at 1209.


         The deliberate indifference standard has been described as a “stringent

   standard of fault.” Bd. of Cty. Comm’rs of Bryan County v. Brown, 520 U.S. 397, 410

   (1997). The subjective component “presents a high evidentiary hurdle to the

   plaintiffs: a prison official must know about and disregard a substantial risk of

   serious harm.” Self, 439 F.3d at 1232 (citing Mata v. Saiz, 427 F.3d 745, 752 (10th

   Cir.2005)). An “excessive risk” is one “sure or very likely to cause serious illness and

   needless suffering.” Helling v. McKinney, 509 U.S. 25, 33 (1993). “Deliberate

   indifference” is characterized by “obduracy and wantonness” and “criminal

   recklessness,” not negligence. Whitley v. Albers, 475 U.S. 312, 319 (1986); Farmer v.

   Brennan, 511 U.S. 825, 834 (1994).



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         Considering Plaintiff admits that she was returned by Aurora Regional to the

   Department in stable condition (Doc. 180, p. 4, “. . . the stable levels Plaintiff was

   discharged with on February 3, 2017), there was no reason for Defendant Victoroff

   to conclude that denying Plaintiff admission to the infirmary was “sure or very

   likely to cause serious illness and needless suffering.” Helling, 509 U.S. at 33.

   Plaintiff was discharged with information and instructions from Aurora Regional

   and her oncologist which she cannot demonstrate were inaccessible to any clinical

   staff on duty over the weekend when Defendant was off-duty. Victoroff

   communicated the most critical information, that is, that if Plaintiff’s temperature

   reached 100.3°F or above, she was to be transported immediately back to the

   hospital. Victoroff placed Plaintiff in the infirmary on neutropenic precautions after

   obtaining abnormal labs for Plaintiff on February 6. She was subsequently ordered

   to be transported back to the hospital, pursuant to the instructions of another

   provider, when she became neutropenic.


         Relevant Facts:


         A.     Plaintiff was discharged from the hospital on February 3, 2017, in

   stable condition. Def. Exh. A, Aff. of Victoroff, ¶¶ 8-10; Def. Exh. C, Aff. of Dr.

   Susan Tiona, ¶¶ 12-15; Def. Exh. E, Med. Ctr. Aurora (CDOCMedCtrAur006508-

   006511). Plaintiff was not neutropenic and her temperature was normal. Def. Exh.

   A, ¶¶ 8-10; Def. Exh. B, Health Services Encounter (CDOC001137); Def. Exh. D,



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   Ryan Depo., p. 68: 1-7. Plaintiff arrived at the Department alert, ambulatory and

   afebrile. Def. Exh. A, ¶ 14.

          B.       Defendant Victoroff reviewed the discharge summary and orders and

   consulted with CDOC’s then-Chief Medical Officer, Dr. Tiona, as to whether

   infirmary admission was indicated. Def. Exh. A, Aff. Victoroff, ¶¶ 10-14; Def. Exh.

   C, ¶¶ 11-16. Dr. Tiona denied Plaintiff admission to the infirmary based on the fact

   that she arrived at CDOC in stable condition and was alert, ambulatory and

   afebrile. Id.

          C.       Based on her review of Plaintiff’s medical records and her years of

   experience as a practitioner, former Chief Medical Officer Dr. Tiona concludes that

   Plaintiff’s medical condition at the time she returned to CDOC on February 3,

   2017, following hospitalization for chemotherapy, did not rise to the level of needing

   infirmary care. Def. Exh. C, Aff. Tiona, ¶¶ 11-16.

          D.       Prior to leaving for her scheduled days off for the weekend, Defendant

   Victoroff emphasized to the nurses scheduled to be on duty, that per the

   oncologist’s orders, if Plaintiff developed a fever of 100.3°F or above, she was to be

   transported back to the hospital. Def. Exh. A, Aff. Victoroff, ¶¶ 16-17.

          E.       On Monday, February 6, Plaintiff’s labs were taken per Dr. Burke’s

   orders. Def. Exh. A, Aff, Victoroff, ¶ 21; Def. Exh. B, Health Services Encounter

   (CDOC0011331-CDOC001135).




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         F.     Plaintiff’s labs were abnormal but typical for immune-compromised

   cancer patients who are receiving chemotherapy. Def. Exh. A, Aff. Victoroff, ¶¶ 24-

   25; Def. Exh. B (CDOC001132); Defendant’s Exhibit G, LabCorp Feb. 6, 2017.7

   These labs caused Victoroff to contact the oncologist, Dr. Burke, who recommended

   admission to the infirmary with neutropenic precautions. Def. Exh. A, ¶¶ 24-26.

         G.     Defendant admitted Plaintiff to the infirmary and wrote orders for

   immediate transport to the hospital if Plaintiff’s temperature exceeded 100.3°F. Id.

   at ¶¶ 27-28; Def. Exh. B, Health Services Encounter (CDOC001131-CDOC001132).

   Plaintiff did not develop a neutropenic fever of 100.7°F until the morning of

   February 7, 2017, at which time she was ordered to be transported back to Aurora

   Regional. Def. Exh. A, ¶ 29; Def. Exh. B (CDOC001129-CDOC001130).

         Element 3: Plaintiff cannot demonstrate a triable issue of fact as to whether

   the delay in her admission to the infirmary and the failure to leave orders for

   monitoring her case caused her to become seriously ill, “nearly lo[se] her life,” and

   endure “physical pain” of an unknown duration. (Doc. 180, pp. 5, 15). Plaintiff

   admits that after becoming ill over the weekend, she was readmitted to Aurora

   Regional where she was diagnosed with neutropenic fever and influenza A and

   returned to the Department on February 16, 2017. (Doc. 180-1). Plaintiff has not

   and cannot demonstrate that these conditions were not successfully treated at the




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    Defendant’s Exhibit G is identical to Plaintiff’s summary judgment Exhibit 2, Doc.
   185-2.
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   hospital or that she suffered any long-term damage. Significantly, Plaintiff cannot

   present evidence showing that any actions or omissions by Defendant, including

   the denial of admission to the infirmary, exposed her to these illnesses, let alone

   that she suffered any permanent damage from the same. There is simply no

   evidence to show that Plaintiff sustained a permanent injury or long-term harm as

   a result of the delay in her admission to the infirmary or the alleged lack of orders

   left by Defendant before she went off duty for the weekend. Garrett, 254 F.3d at

   950.

          A.    On February 6, 2017, Defendant admitted Plaintiff to the infirmary

   and wrote orders for immediate transport to the hospital if Plaintiff’s temperature

   exceeded 100.3°F. Def. Exh. A, Aff. Victoroff, at ¶¶ 27-28; Def. Exh. B, Health

   Services Encounter (CDOC001131-CDOC001132). Plaintiff did not develop a

   neutropenic fever of 100.7°F until the morning of February 7, 2017, at which time

   she was ordered to be transported back to Aurora Regional. Def. Exh. A, ¶ 29; Def.

   Exh. B (CDOC001129).

          B.    At Aurora Regional, Plaintiff was diagnosed with neutropenic fever.

   Def. Exh. A, Aff. Victoroff, ¶ 31; Defendants’ Exhibit E, Medical Center of Aurora

   (CDOCMedCTrAuro006959-006963). A bump on Plaintiff’s finger was identified as

   an abscess and was drained, cultured and diagnosed as a MRSA infection. Id.

   Plaintiff also tested positive for Influenza A for which the origin is unknown. Id.




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         C.     According to her Aurora Regional records, Plaintiff recovered from her

   neutropenic fever and Influenza A, and, the abscess on her finger healed. Def. Exh.

   A, Aff. Victoroff, ¶ 33; Def. Exh. B, Health Services Encounter (CDOC001127-

   CDOC001129); Def. Exh. D, Ryan Depo., pp. 95-97.

         B.     Defendant is entitled to qualified immunity.

                1. Burden of Proof and Elements:

         Public employees acting in their individual capacities are presumed to be

   immune from liability. Schalk v. Gallemore, 906 F.2d 491, 499 (10th Cir. 1990).

   Qualified immunity applies in “all but the most exceptional cases.” Tonkovich v.

   Kansas Bd. of Regents, 159 F.3d 504, 516 (10th Cir. 1998). Qualified immunity

   protects “all but the plainly incompetent or those who knowingly violate the law.”

   Malley v. Briggs, 475 U.S. 335, 341 (1986).


         Once a defendant asserts qualified immunity, the burden shifts to the

   plaintiff to show that qualified immunity is not appropriate. Davis v. Scherer, 468

   U.S. 183, 197 (1984); DeSpain v. Uphoff, 264 F.3d 965, 971 (10th Cir. 2001).

   Plaintiff’s burden is twofold. First, plaintiff must show that defendant violated a

   constitutional right. Brosseau v. Haugen, 543 U.S. 194, 197 (2004) (citing Saucier v.

   Katz, 533 U.S. 194, 201 (2001). Second, plaintiff must demonstrate that the right

   was clearly established by showing that “it would be clear to a reasonable officer

   that his conduct was unlawful in the situation he confronted.” Id. at 199 (quoting

   Saucier at 533 U.S. 202). “If the plaintiff fails to satisfy either part of the two-part

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   inquiry, the court must grant the defendant qualified immunity.” Gross v. Pirtle,

   245 F.3d 1151, 1156 (10th Cir. 2001).


          “A Government official’s conduct violates clearly established law when, at the

   time of the challenged conduct, ‘[t]he contours of [a] right [are] sufficiently clear’

   that every ‘reasonable official would have understood that what he is doing violates

   that right.’” Ashcroft v. al-Kidd, 563 U.S. 731, 741 (2011) (citing Anderson v.

   Creighton, 483 U.S. 635, 640 (1987)). “‘[C]learly established law’ should not be

   defined ‘at a high level of generality.’” White v. Pauly, 137 S. Ct. 548, 552 (2017)

   (citing Ashcroft, 563 U.S. at 742). “[T]he clearly established law must be

   ‘particularized’ to the facts of the case.” Id. (citations omitted). “Otherwise,

   ‘[p]laintiffs would be able to convert the rule of qualified immunity…into a rule of

   virtually unqualified liability simply by alleging violation of extremely abstract

   rights.’” Id.


          As discussed in detail above, Plaintiff has failed to show that Victoroff’s

   conduct or omissions violated a constitutional right. It is undisputed that Victoroff

   provided medical care to Plaintiff on February 3 and 6, 2017. Victoroff’s review of

   Plaintiff’s discharge records on February 3, her instructions to staff on duty for the

   weekend, and admission of Plaintiff to the infirmary for neutropenic precautions on

   February 6, are enough to establish that she was not deliberately indifferent to

   Plaintiff’s medical needs. Coppinger, 398 F.2d at 394. Victoroff’s decision not to

   admit Plaintiff to the infirmary on February 3, as informed by the directive of her

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   ultimate supervisor, then-Chief Medical Director Tiona, and Plaintiff’s stable

   condition upon discharge, likewise does not represent cruel and unusual

   punishment. Estelle, 429 U.S. at 107. For that reason, Plaintiff’s claim for deliberate

   indifference to medical needs is missing both the objective and subjective

   components. Sealock, 218 F.3d at 1209. Plaintiff fails to establish a constitutional

   violation, and Defendant Victoroff is thus entitled to qualified immunity and

   summary judgment as to Claim Four.


         Plaintiff also cannot satisfy the second prong of the qualified immunity test.

   She has not and cannot cite to United States Supreme Court or Tenth Circuit

   authority that would have placed Victoroff on notice that her conduct violated

   Plaintiff’s constitutional rights under the circumstances. Consequently, Defendant

   is also entitled to qualified immunity because any purported constitutional violation

   was not clearly established.


                                       CONCLUSION


         Because Plaintiff cannot establish a constitutional violation by Defendant

   Victoroff, she both fails to state a claim, and fails to overcome Victoroff’s assertion of

   qualified immunity. Defendant Victoroff is thus entitled to judgment in her favor.


         Respectfully submitted this 24th day of January, 2020.

                                         PHILIP J. WEISER
                                         Attorney General

                                         s/ Amy C. Colony

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                                  AMY C. COLONY, Reg. No. 36124*
                                  Senior Assistant Attorney General
                                  1300 Broadway, 10th Floor
                                  Denver, CO 80203
                                  Email: acolony@coag.gov
                                  Telephone: 720-508-6615
                                  Attorney for Defendant Victoroff
                                  *Counsel of Record




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                               CERTIFICATE OF SERVICE


         I certify that I served the foregoing DEFENDANT HILARY VICTOROFF’S

   MOTION FOR SUMMARY JUDGMENT: CLAIM FOUR (DOC. 184) upon all parties

   herein by e-filing with the CM/ECF system maintained by the court or by depositing

   copies of same in the United States mail, first-class postage prepaid, at Denver,

   Colorado, this 24th day of January, 2020, addressed as follows:


      Shawnee Ryan
      12801 West Alameda Parkway
      Box 218
      Lakewood, CO 80225
      Plaintiff, pro se

      Andrew David Ringel, Esq.
      Edmund Martin Kennedy, Esq.
      Hall & Evans LLC
      1001 17th Street, Suite 300
      Denver, CO 80202
      Attorneys for Defendant Mix


                                          s/ LaTasha Carter




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